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                        UNITED STATES DISTRICT COURT
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                                EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                      Case No. 1:13-CR-0362 AWI-BAM

11                     Plaintiff,                   ORDER CONSTRUING LETTERS AS
                                                    REQUESTS FOR A BAIL REVIEW AND
12          v.                                      DENYING REQUEST

13   GAYLENE LYNNETTE BOLANOS, et al.,

14                  Defendants.
     _____________________________________/
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16         On September 24, 2014, this Court detained defendant Gaylene Bolanos, proceeding pro se

17 pursuant to Faretta v. California, 422 U.S. 806 (1975), upon a finding that Defendant violated

18 conditions of release and that Defendant was unlikely to abide by any condition and that no

19 condition would assure Defendant would not flee. (Doc. 182.) Since the detention, Defendant has

20 submitted two letters, filed on October 9 and October 14, 2014. (Doc. 186, 187.) The Court has

21 reviewed the letters and construes them as requests for a bail review. Having considered the

22 letters, the Court DENIES the request for a bail review. Defendant does not address any of the

23 issues raised at the detention hearing regarding Defendant’s full compliance with all pretrial

24 conditions and the acceptance of mail from the Court.
   IT IS SO ORDERED.
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26      Dated:   October 16, 2014                          /s/ Barbara A. McAuliffe         _
                                                    UNITED STATES MAGISTRATE JUDGE
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